This is an application for reinstatement as an attorney and counselor at law after disbarment.
From the record it appears that petitioner was convicted of a felony involving moral turpitude and sentenced to be imprisoned in the state penitentiary. After serving a portion of his sentence he was, on the twenty-fourth day of December, 1922, granted a full pardon by the Governor of the state. Attached to the petition are numerous testimonials from officials and other persons recommending the reinstatement of the applicant. On the other hand certain protests have been filed against such action. [1] The case presents the identical situation with which we were called upon to deal in the Matterof Daniel O'Connell, ante, p. 673 [222 P. 625], in which we denied a similar petition. Upon the authority of that case the petition herein is denied.
St. Sure, J., concurred.
 *Page 1 